Case 2:11-cr-20076-AJT-PJK ECF No. 376, PageID.3174 Filed 06/22/16 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                Case No. 11-20076-2
             Plaintiff,
                                                SENIOR U.S. DISTRICT JUDGE
v.                                              ARTHUR J. TARNOW

MARIEVA BRICENO,

             Defendant.

                                      /


     ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATION 18 U.S.C.
      §3742(E) [357]; DENYING DEFENDANT’S MOTION FOR EARLY RELEASE
                       PURSUANT TO 18 U.S.C. §3624 [360]



       Defendant pled guilty to healthcare fraud on March 14, 2012. Sentencing

was held on June 12, 2012 and Defendant was sentenced to a term of imprisonment

of 60 months followed by a term of supervised release for two years. On January

23, 2015, Defendant filed a Motion for Reconsideration pursuant to 18 U.S.C.

§3742(e). [357]. On March 17, 2015 Defendant filed a Motion for Early Release

Pursuant to Title 18 U.S.C. §3624. [360]. For the reasons stated below,

Defendant’s Motion for Reconsideration pursuant to 18 U.S.C. §3742(e) [357] and



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Case 2:11-cr-20076-AJT-PJK ECF No. 376, PageID.3175 Filed 06/22/16 Page 2 of 4




Defendant’s Motion for Early Release pursuant to 18 U.S.C. §3624 [360] are

DENIED.

      In her Motion for Reconsideration, Defendant requests that the Court reduce

her sentence pursuant to 18 U.S.C. §3742(e).1 In her Motion, Defendant cites

Pepper v. United States, 562 U.S. 476 (2011), as support for a reduction of her

sentence under 18 U.S.C. §3742(f) for her post-conviction rehabilitation. However,

per Pepper v United States, post-sentencing rehabilitation evidence can be

considered by the District Court to support a downward variance from the Federal

Sentencing Guidelines “when a defendant’s sentence has been set aside on appeal.”

Id at 481. Defendant has not appealed her sentence nor had it set aside on appeal,

therefore there is no authority for the Court to adjust her sentence. Indeed, 18

U.S.C. §3742 deals with review of a sentence after an appeal by the Defendant or

the Government and the District Court does not enter into this process unless the

Court of Appeals remands for resentencing. Given that there has been no appeal of

the sentence by either the Defendant or the Government, and the Sixth Circuit has

not remanded for resentencing, there is no authority for the Court to reduce



1
  While the Defendant cites 18 U.S.C. §3742(e), this section deals with Court of
Appeals consideration of sentencing on appeal. Given the request that the
Defendant is making, the Court will consider 18 U.S.C. §3742(f) to be guiding this
request instead as it deals with resentencing at the District Court level.
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Case 2:11-cr-20076-AJT-PJK ECF No. 376, PageID.3176 Filed 06/22/16 Page 3 of 4




Defendant’s sentence based on post-conviction rehabilitation. Accordingly,

Defendant’s Motion for Reconsideration [357] is denied.

      Defendant also filed a Motion for Early Release Pursuant to 18 U.S.C.

§3624. [360]. In her Motion, Defendant cites a Ninth Circuit case, United States v.

Hicks, 472 F. 3d 1167 (9th Cir. 2007) and the Supreme Court decision in United

States v. Booker, 543 US 220 (2005), to argue that the Court has the discretion,

pursuant to the Federal Prison Bureau Non-Violent Offenders Relief Act of 2013,

to consider the factors in 18 U.S.C. §3624 and issue Defendant an early or

immediate release.

      The Court notes that the Federal Bureau Non-Violent Offenders Relief Act

of 2013 has never been passed by the House of Representatives or the Senate, nor

has it been signed by the President; accordingly, it is not law and does not give the

Court any authority to grant Defendant’s request. See U.S. CONST., art. I, § 7, cl.

2. Additionally, “the power to grant credit for time served lies solely with the

Attorney General and the Bureau of Prisons.” United States v. Crozier, 259 F.3d

503, 520 (6th Cir. 2001); see also 18 U.S.C. § 3585(b); United States v. Wilson,

503 U.S. 329, 333 (1992).

      Further, the case law cited by Defendant does not support an order for early

or immediate release. First, United States v. Hicks was a case which dealt with

                                          3
Case 2:11-cr-20076-AJT-PJK ECF No. 376, PageID.3177 Filed 06/22/16 Page 4 of 4




resentencing pursuant to USSG § 1B1.10(a) & (c). 472 F. 3d 1167 (9th Cir. 2007).

Defendant, as stated above, does not propose any statute that would give the Court

the authority to resentence the Defendant. Second, the Defendant cited United

States v. Hicks for the proposition that “a mandatory system is no longer an open

choice” as a result of United States v. Booker, and thus the Court has the discretion

to enter an order for early or immediate release. However, this holding was

expressly abrogated by the Supreme Court in Dillon v. United States and cannot

support Defendant’s request. Dillon v. United States, 560 U.S. 817, 829 (2010).

Therefore, Defendant’s Motion for early release pursuant to 18 U.S.C. §3624 is

denied.

      IT IS ORDERED that Defendant’s Motion for Reconsideration [357] is

DENIED.

      IT IS FURTHER ORDERED that Defendant’s Motion for Early Release

[360] is DENIED.

      SO ORDERED.



                                       s/Arthur J. Tarnow
                                       Arthur J. Tarnow
Dated: June 22, 2016                   Senior United States District Judge




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